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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

GEODYNAMICS, INC.,                                §
                                                  §
       Plaintiff,                                 §
                                                  §
v.                                                §                      No. 2:17-CV-00371-RSP
                                                  §
DYNAENERGETICS US, INC.,                          §
                                                  §
       Defendant.                                 §

                          MEMORANDUM OPINION AND ORDER

       In this patent case, the Court now considers Dynaenergetics US, Inc.’s Motion for

Summary Judgment of Invalidity of the ’394 Patent as Lacking Proper Written Description [Dkt.

# 109]. After considering the parties’ briefs on the issue 1 and the controlling case law, the Court

concludes that a reasonable factfinder could determine that the written description requirement

was met, so the Court will DENY this Motion.

I.     BACKGROUND

       Plaintiff GEODynamics, Inc. (“GEOD”) owns U.S. Patent No. 8,220,394 (“’394 Patent”).

Compl. [Dkt. #1]. A Great Britain patent application was filed on October 10, 2003, and this patent

application resulted in the ’394 Patent. ’394 Patent at [30]. The ’394 Patent relates to a reactive

shaped charge liner that may be used within a perforator for perforating and fracturing well

completions. Id. at 1:5–7. The liner is placed within a housing, and highly explosive material is

located within the volume enclosed between the liner and the housing. Id. at fig. 1, 7:15–16. A

recess within the housing allows for the activation of the highly explosive material. Id. at 7:16–20.


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 A Response from GEOD [Dkt. #150], a Reply from DYNA [Dkt. #167], and a Sur-Reply from GEOD [Dkt. #186]
have also been filed.
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Upon activation of the highly explosive material, the material causes the reactive shaped liner to

have an exothermic reaction that helps further distress and fracture well completions. Id. at 6:6–8.

       GEOD accuses Dynaenergetics US, Inc. (“DYNA”) of infringing claims within the ’394

Patent. Proposed Final Pretrial Order at 9 [Dkt. #203]. DYNA contends that the ’394 Patent is

invalid because it lacks proper written description. Def’s Mot. DYNA raises this challenge for two

different terms within claim 1 of the patent: (A) the “respective proportions” term, and (B) the

“further inert metal” term. Id.

       A. Background Related to the “Respective Proportions” Term

       Claim 1 of the ’394 Patent requires that “at least two metal elements” are present that “will

undergo an intermetallic alloying reaction.” ’394 Patent at 7:64–8:11. “[T]he at least two metal

elements are provided in respective proportions calculated to give an electron concentration of

1.5 . . . .” Id. at 8:4–6. The specification mentions nickel and aluminum as possible metal elements

that could be used. Id. at 3:16–27.

       GEOD presented Dr. Gary Wooley as an expert for the written description issues. Wooley

Rebuttal Rep. [Dkt. #150-3]. Wooley stated his opinion that “the inventor of the ’394 patent had

in his possession the invention of making any amounts of NiAl.” Id. at ¶ 133. He first discusses

the information included within the specification:

               The specification of the ’394 patent explains that, although
               stoichiometric ratios may be preferred, “ratios other than a
               stoichiometric ratio may also afford an exothermic reaction and as
               such the invention is not limited to stoichiometric mixtures.” The
               ’394 patent’s specification says that the primary aspect of the
               invention relates to “a composition capable of an exothermic
               reaction upon activation of the shaped charge liner.” The
               specification goes on to describe that “[t]he liners give particularly
               effective results when the two metals are provided in respective
               proportions calculated to give an electron concentration of 1.5” . . . .




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Id. at ¶ 132 (internal citations omitted). Wooley provided his opinion based on what was disclosed

in the specification:

                Based on these disclosures, it is my opinion that a person of skill in
                the art at the time of the invention, upon reading the specification,
                would understand that the inventor of the ’394 patent had in his
                possession the invention of a reactive liner composition that creates
                an intermetallic compound with an electron concentration of 1.5
                (such as NiAl) upon detonation of the shaped charge. A person of
                skill in the art would understand that the inventor of the ’394 patent
                had in his possession the invention of making any amounts of NiAl.
                Indeed, if one could create significant amounts of NiAl based solely
                on the composition of the liner, one would necessarily be able to
                make small amounts of NiAl by altering the liner blend. A person of
                skill in the art at the time of the invention would understand this and
                would understand that the inventor had in his possession a liner
                composition that formed, in any amount, an intermetallic product
                with an electron concentration of 1.5 upon activation of the shaped
                charge. Therefore, it is my opinion that there is sufficient written
                description support for the scope of the “respective proportions”
                limitation as defined by the Court.

Id. at ¶ 133–34.

        Wooley was asked about the written description issue at his deposition. Wooley Tr. 210:6–

211:7. When asked whether “the patent here describe[s] the use of NiAl to produce a considerable

output of energy,” Wooley stated “[a]s an example.” Id. at 210:16–18. When asked whether he

could “identify a portion of the patent . . . that describes the use of NiAl to produce a trivial amount

of energy,” Wooley stated, “I don’t think those words are in the patent.” Id. at 210:19–24. When

asked if he could “identify a portion of the patent that describes the use of NiAl to produce

insufficient energy to impact the flow characteristics of the perforation tunnel, Wooley stated, “I

think you’re making all that stuff up. I don’t think those words are in the patent, nor should they

be.” Id. at 211:1–7.




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       B. Background Related to the “Further Inert Metal” Term

       Claim 1 of the ’394 Patent requires that the liner composition “further comprises at least

one further inert metal, wherein the at least one further inert metal is not capable of an exothermic

reaction with the at least two metal elements upon activation of the shaped charge liner.” ’394

Patent 8:7–11.

       Wooley states his opinion that “the ’394 patent provides sufficient written description

support for the ‘further inert metal’ limitation.” Wooley Rebuttal Rep. at ¶ 136. He first discusses

the information included within the specification:

                 [T]he specification plainly states that “[i]n an alternative
                 arrangement it may be desirable that the liner further comprises at
                 least one further metal, where the at least one further metal does not
                 participate in the exothermic reaction when the shaped charge is
                 activated.” The ʼ394 explains that the further inert metal “may be
                 selected from any commonly used or known shaped charge liner
                 metal,” including, for example, tungsten. The specification of the
                 ʼ394 patent goes on to demonstrate the inventors’ familiarity with
                 the properties of inert metals like tungsten, stating that such metals
                 are “commonly used or known shaped charge liner metal[s].” The
                 inventors also explain that a person of skill in the art would
                 understand that inert metals, like tungsten, are included in the liner
                 to “provide additional mechanical strength to the liner and thus to
                 increase the penetrative power of the jet.” Further underscoring the
                 inventors’ familiarity with inert metals is the observations that “[t]he
                 properties of tungsten and copper as shaped charge liners are well
                 known and they are typically used as liner materials due to their high
                 density and ductility, which traditionally make them desirable
                 materials for this purpose. In view of the “mechanical strength,”
                 “high density,” and “ductility” of the traditional inert metals known
                 to those skilled in the art, such as tungsten, the inventors of the ʼ394
                 patent explained that “it may further be desirable to incorporate a
                 portion of either copper or tungsten or an alloy thereof, into the
                 reactive liner of the invention in order to provide a reactive liner of
                 increased strength and hence a more powerful jet.”

Id. at ¶ 138–40 (internal citations omitted). Wooley provided his opinion based on what was

disclosed in the specification:




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                  This disclosure highlights the inventors’ understanding that the
                  power of the jet is tied to the inclusion of an inert metal in the
                  liner. . . . As a person of skill in the art, I understand this disclosure
                  demonstrates the manifest that the inert “portion” of the liner is
                  absolutely critical to the strength, power, and effectiveness of the
                  patented shaped charge. . . . [N]othing in the ’394 patent’s
                  specifications suggest that the inventors were in possession of only
                  reactive liners with relatively low amounts of inert metals. In fact,
                  these disclosures highlight the critical benefits of inert metals—
                  tying the liner’s strength and the jet’s power to the inclusion of inert
                  metals.

Id. at ¶ 140–41.

       A second Great Britain patent application was submitted on February 20, 2007, and this

application eventually resulted in the grant of the U.S. Patent No. 8,544,563 (“’563 Patent”). ’563

Patent at [30]. Claim 1 of the ’563 Patent requires reactive metal liners with a “further metal” that

was “not capable of an exothermic reaction.” Id. at 13:40–46. The claim also requires that the

further metal is “present in an amount greater than 40% w/w of the liner.” Id. Further, the

specification states that performance results were “very surprising” for liners with 70% tungsten,

id. at 12:24–52, and that liners with “greater than 40% w/w” of the further metal are preferable,

id. at 9:61–63.

       The application for the ’563 Patent was originally assigned to QinetiQ Ltd. (“QinetiQ”).

Id. at [73]. During the prosecution of the ’563 Patent application, the examiner rejected certain

claims of the application as obvious based on published international patent application that led to

the grant of the ’394 Patent. Office Action to ’563 Patent application [Dkt. #109-4]; ’394 Patent at

[87]. In response to this rejection, QinetiQ argued to the examiner:

                  although the use of at least one further metal to increase the depth
                  penetration is known — it is a totally unexpected and
                  counterintuitive result that at high inert metal inclusions (in excess
                  of 40% w/w), when the amount of reactive ingredients is necessarily
                  lower, the tunnel will remain debris free.




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June 20, 2012 Amendment at 10 [Dkt. #109-5].

       The ’563 Patent was eventually granted, but it was eventually challenged in an inter partes

review proceeding with the ’394 Patent and the applications leading up to it being asserted as prior

art references. Def.’s Mot. at 6. In preparation of this proceeding, a QinetiQ employee named

Philip Church opined that the ’563 Patent was a “highly non obvious development” because of the

large delay between the priority dates for the ’394 Patent and the ’563 Patent. Church Decl. at

19:18–27 [Dkt. #109-6]. He stated that it would be especially non-obvious to include about 70%

of a further metal that was not reactive. Id. at 23:9–26. Church stated that certain testing was not

performed until “around about 2005,” id. at 24:7–10, and DYNA contends that this was the first

time high-tungsten reactive liners were tested, Def.’s Mot. at 7.

II.    APPLICABLE LAW

       Patents are presumed to be valid. 35 U.S.C. § 282(a). However, the decision regarding

patentability by the USPTO is not binding on a court. Fromson v. Advance Offset Plate, Inc., 755

F.2d 1549, 1555 (Fed. Cir. 1985). The presumption regarding validity may be overcome by clear

and convincing evidence of invalidity. Bristol-Myers Squibb Co. v. Ben Venue Labs., Inc., 246

F.3d 1368, 1374 (Fed. Cir. 2001).

       Section 112 of the Pre-AIA Patent Act states that “[t]he specification shall contain a written

description of the invention. . . .” To satisfy the written description requirement, the disclosure

must “convey[] to those skilled in the art that the inventor had possession of the claimed subject

matter as of the filing date.” Ariad Pharm., Inc. v. Eli Lilly & Co., 598 F.3d 1336, 1351 (Fed. Cir.

2010) (en banc)). A proper written description inquiry focuses on “whether the patentee has

provided an adequate description that ‘in a definite way identifies the claimed invention’ in

sufficient detail such that a person of ordinary skill would understand that the inventor had made




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the invention at the time of filing.” Allergan, Inc. v. Sandoz Inc., 796 F.3d 1293, 1308 (Fed. Cir.

2015). The “hallmark of written description is disclosure,” so the test for written description

requires an “objective inquiry into the four corners of the specification from the perspective of a

person of ordinary skill in the art.” Id. The written description determination focuses on the

“disclosures of the applications,” and information that is not part of the asserted patent’s

specification “should not form the basis of the written description inquiry.” Id. at 1309. No rigid

requirement exists that the disclosure contain either examples or an actual reduction to practice.

Id. at 1308.

       “The court shall grant summary judgment if the movant shows that there is no genuine

dispute as to any material fact and the movant is entitled to judgment as a matter of law.” Fed. R.

Civ. P. 56(a). Evidence is construed in the light most favorable to the non-moving party, and all

reasonable inferences are to be drawn in that party's favor. R & L Inv. Prop., L.L.C. v. Hamm, 715

F.3d 145, 149 (5th Cir. 2013) (citing Griffin v. United Parcel Serv., Inc., 661 F.3d 216, 221 (5th

Cir. 2011)). A factual dispute is genuine only where “the evidence is such that a reasonable jury

could return a verdict for the nonmoving party.” Amgen Inc. v. Conn. Ret. Plans & Tr. Funds, 568

U.S. 455, 480 (2013) (citing Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247–48 (1986)).

“Compliance with the written description requirement is a question of fact but is amenable to

summary judgment in cases where no reasonable fact finder could return a verdict for the

nonmoving party.” PowerOasis, Inc. v. T–Mobile USA, Inc., 522 F.3d 1299, 1307 (Fed. Cir. 2008).

III.   DISCUSSION

       DYNA fails to show that no reasonable fact finder could return a verdict for the nonmoving

party for both issues. GEOD presents Wooley as an expert who qualifies as a person of skill in the

art. In responding to this motion, the Court must view the evidence in a light most favorable to




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GEOD since it is the non-moving party. Accordingly, the Court accepts that Wooley qualifies as

a person of skill in the art for the purposes of responding to DYNA’s motion. Wooley provided

his opinion as to the written description inquiry for both claim terms. Based on the information

contained within the specification of the ’394 Patent and Wooley’s opinion, a reasonable factfinder

could determine that the written description requirement was satisfied for the “respective

proportions” and “further inert metal” claim terms.

        A. A reasonable factfinder could conclude that the written description requirement
           was met for the “respective proportions” claim term.

        Wooley presents his opinion that “the inventor of the ’394 patent had in his possession the

invention of making any amounts of NiAl.” Wooley Rebuttal Rep. at ¶ 133 [Dkt. #150-3]. His

inquiry focuses on the specification of the patent. See id. at ¶ 132. He provided his reasoning,

stating that “if one could create significant amounts of NiAl based solely on the composition of

the liner, one would necessarily be able to make small amounts of NiAl by altering the liner blend.”

Id. at ¶ 133.

        DYNA fails to show how a reasonable factfinder could not agree with Wooley’s position.

Attempting to undermine Wooley’s position, DYNA points to Wooley’s deposition. When asked

whether he could “identify a portion of the patent . . . that describes the use of NiAl to produce a

trivial amount of energy,” Wooley stated, “I don’t think those words are in the patent.” Wooley

Tr. at 210:19–24. When asked if Wooley could “identify a portion of the patent that describes the

use of NiAl to produce insufficient energy to impact the flow characteristics of the perforation

tunnel,” he stated “I think you’re making all that stuff up. I don’t think those words are in the

patent, nor should they be.” Id. at 211:1–7. Based on Wooley’s responses, DYNA argues that

“Wooley admitted that the ’394 patent does not disclose “respective proportions” of nickel and

aluminum that produce any and all amounts of NiAl. Therefore . . . the inventors of the ’394



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[patent] were not in possession of the full range of the claimed subject matter.” Def.’s Mot. at 5

(internal citations omitted). However, by saying “I don’t think those words are in the patent,”

Wooley is merely stating that the ’394 patent is silent as to that precise language. No rigid

requirement exists that the disclosure contain specific examples to satisfy the written description

requirement, Allergan, 796 F.3d at 1308, and DYNA itself conceded that “[w]hether silence

implies possession depends on the knowledge of one skilled in the art.” Resp. at 1 n.1.

         Based on the evidence in the record, a reasonable factfinder could determine that a person

of skill in the art would view the inventors of the ’394 Patent as having possession of respective

proportions of nickel and aluminum that produce even trivial amounts of NiAl. Accordingly, the

Court will DENY this motion as it relates to DYNA’s “respective proportions” argument.

         B. A reasonable factfinder could conclude that the written description requirement
            was met for the “further inert metal” claim term.

         DYNA’s argument focuses on information from the Inter Partes Review of the ’563 Patent

and the prosecution of the patent application that led to the ’563 Patent. Def.’s Mot. at 1. The test

for written description requires an “objective inquiry into the four corners of the specification from

the perspective of a person of ordinary skill in the art.” Allergan, 796 F.3d at 1308. DYNA’s

arguments largely focus on evidence that is outside the four corners of the patent specification,

and this evidence “should not form the basis of the written description inquiry.” Id. at 1309. The

Court will not rely on evidence presented relating to the prosecution or Inter Partes Review of the

’563 Patent. 2



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  DYNA argues that “when a specification is silent regarding matter falling within the scope of a claim, a court
reviewing a written description challenge must consider extrinsic evidence, such as evidence regarding ‘the
complexity of the technology.’” Resp. at 1 n.1. DYNA cites to Streck to support this proposition. Streck states that
“[t]he level of detail required to satisfy the written description requirement depends, in large part, on the nature of the
claims and the complexity of the technology.” Streck, Inc. v. Research & Diagnostic Systems, Inc., 665 F.3d 1269,
1285 (Fed. Cir. 2012). The Court disagrees with DYNA’s interpretation of Streck and fails to see how this sentence
supports opening up the inquiry to extrinsic evidence.


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       From what is included in the specification regarding a “further inert metal,” a reasonable

fact finder could return a verdict for GEOD. The specification states that an alternative

arrangement exists where “at least one further metal does not participate in the exothermic

reaction” and that this additional metal is considered inert. ’394 Patent at 5:43–46. The

specification states that the “purpose of adding a further metal is to provide additional mechanical

strength to the liner and thus to increase the penetrative power of the jet,” and it also identifies

tungsten as a well-known and desirable material for this purpose. Id. at 5:49–55. No specific

amount of inert metal is required by the claims or identified within the specification.

       Wooley’s Rebuttal Report provides insight into how a person having skill in the art might

view the written description inquiry. In his reading of the specification, Wooley understands that

the “further inert metal” “is absolutely critical to the strength, power, and effectiveness of the

patented shaped charge” and that “the liner’s strength and the jet’s power [are tied] to the inclusion

of inert metals.” Wooley Rebuttal Rep. at ¶ 141. He also states that “nothing in the ’394 patent’s

specifications suggest that the inventors were in possession of only reactive liners with relatively

low amounts of inert metals.” Id.

       The test for written description is whether the disclosure “conveys to those skilled in the

art that the inventor had possession of the claimed subject matter as of the filing date.” Ariad, 598

F.3d at 1351. Here, Wooley has presented his opinion that the inventors of the ’394 Patent were in

possession of liners with high amounts of “further inert metal.” Between the language included

within the specification and Wooley’s opinion, a reasonable factfinder could determine that a

person of skill in the art would view the inventors of the ’394 Patent as having possession of liners

with a high amount of “further inert metal.” Accordingly, the Court will DENY this motion as it

relates to DYNA’s “further inert metal” argument.




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IV.    CONCLUSION

       The Defendant DynaEnergetics US, Inc.’s Motion for Summary Judgment of Invalidity of

the ’394 Patent as Lacking Proper Written Description is DENIED.
        SIGNED this 3rd day of January, 2012.
       SIGNED this 27th day of September, 2018.




                                                  ____________________________________
                                                  ROY S. PAYNE
                                                  UNITED STATES MAGISTRATE JUDGE




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